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                    UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF MASSACHUSETTS

AMERICAN FEDERATION OF
GOVERNMENT EMPLOYEES, AFL-CIO,
80 F Street N.W.,
Washington, D.C. 20001,

AMERICAN FEDERATION OF
GOVERNMENT EMPLOYEES, AFL-CIO,
LOCAL 3707
975 Patriot Ave,
Chicopee, MA 01022,

AMERICAN FEDERATION OF STATE,
COUNTY AND MUNICIPAL EMPLOYEES,
AFL-CIO,
1625 L Street, N.W.
Washington, D.C. 20036,                             Case No. 1:25-cv-10276

and

NATIONAL ASSOCIATION OF
GOVERNMENT EMPLOYEES, INC.
159 Thomas Burgin Parkway
Quincy, MA 01269

             Plaintiffs,

      v

CHARLES EZELL, in his official capacity as
Acting Director of the Office of Personnel
Management,
1900 E Street, N.W. Washington, D.C. 20415,


and

OFFICE OF PERSONNEL MANAGEMENT,
1900 E Street, N.W.
Washington, D.C. 20415

             Defendants.


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     VERIFIED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiffs American Federation of Government Employees, AFL-CIO (AFGE), AFGE

Local 3707 (Local 3707), American Federation of State, County and Municipal Employees, AFL-

CIO (AFSCME), and National Association of Government Employees, Inc. (NAGE) bring this

action against the Office of Personnel Management (OPM) and the Acting Director of OPM and

allege as follows:

       1.      The Office of Personnel Management’s January 28, 2025 decision to offer a

purported “deferred resignation” program to federal career employees is the latest effort by this

Administration to drastically reduce the nonpartisan career civil service upon which this country

has depended and under which it has thrived for more than 140 years.

       2.      The continued success of government is based, in large part, on the institutional

memory of its career civil servants who are committed to the missions of their agencies and the

prospect of working for the American people. These civil servants are professionals and subject

matter experts, many of whom have worked diligently and impartially through successive

administrations of both major parties to implement changing administration priorities. If these

employees leave or are forced out en masse, the country will suffer a dangerous one-two punch.

First, the government will lose expertise in the complex fields and programs that Congress has, by

statute, directed the Executive to faithfully implement. The government will have fewer qualified

employees to execute the statutorily-required tasks that still remain.

       3.      And second, when vacant positions become politicized, as this Administration

seeks to do, partisanship is elevated over ability and truth, to the detriment of agency missions and

the American people. That is why Congress, since 1883, has established rights and processes for




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protecting these employees from undue political influence and has granted employees who have

completed a probationary period, or prior applicable service, protections from termination.

        4.      The Administration, in its first two weeks, has purported to wipe away longstanding

civil service protections and merit system principles mandated by Congress with strokes of a pen.

On Inauguration Day, the President signed an executive order, quickly followed by an OPM

memorandum, that would make it possible for him to convert large swaths of the civil service to

at-will employment, in contravention of the CSRA and OPM regulations (see 89 Fed. Reg. 24982

(Apr. 9, 2024)). The President signed an executive order declaring that career members of the

Senior Executive Service serve at the pleasure of the President, even though Congress specifically

granted these civil servants adverse-action rights (see 5 U.S.C. §§ 7541-7543). Daily, the President

is also eliminating offices and programs that are supported by Congressional appropriations and

tasked by Congress with specific functions.

        5.      In line with these efforts, on January 28, 2025, Defendants sent federal employees

an email titled “Fork in the Road,” offering employees what they called a “deferred resignation . .

. program” – the ability to resign now and purportedly retain all pay and benefits until September

30, 2025. Fork in the Road, U.S. Office of Pers. Mgmt., https://www.opm.gov/fork (last visited

Feb. 4, 2025) (hereinafter, “the Directive” or “the Fork Directive”).

        6.      Employees were given a little more than a week, until February 6, 2025, to accept

or reject the offer. Id.

        7.      To leverage employees into accepting the offer and resigning, the Fork Directive

threatens employees with eventual job loss in the event that they refuse to resign. OPM stated that

“the majority of federal agencies are likely to be downsized through restructurings, realignments,




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and reductions in force,” and Defendants “cannot give you full assurance regarding the certainty

of your position or agency.” Id.

       8.      Plaintiffs, who are routinely called upon to advise their federal employee members,

as well as unions affiliated with Plaintiffs who directly represent federal employees, are unable to

render dependable advice because basic information is absent from the Directive, including:

            a. Whether OPM can (or will) honor the financial commitment for agencies across

               government when Congress has appropriated no funds for this purpose, and the

               statutory basis and appropriation for this promise remain unclear;

            b. Whether and under what circumstances employees are expected to continue

               working for the federal government, and whether they can seek outside

               employment before their final resignation date;

            c. The implications for pensions, health insurance, retirement eligibility, service

               tenure requirements, reinstatement rights, and similar issues; and

            d. How and when the threatened restructuring, realignments, and reductions in force

               will be announced and whether the Administration will honor employees’ adverse-

               action and due process protections.

       9.      The Fork Directive is arbitrary and capricious in numerous respects, including that

the Directive: (1) fails to consider possible adverse consequences of the Directive provided to

millions of federal employees to the continuing functioning of government; (2) offers conflicting

information about employees’ rights and obligations if they accept the government’s offer; (3)

runs counter to long-standing rules and requirements for federal employees; (4) is contrary to

reasoned practices of government restructuring, (5) ignores history and practices around effective




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workforce reduction, (6) sets an arbitrarily short deadline; and (7) is pretext for removing and

replacing government workers on an ideological basis.

       10.     The Fork Directive is also contrary to law. OPM has offered no statutory basis for

its unprecedented offer. Moreover, the current appropriation for most federal agencies expires on

March 14, 2025, but the Directive purports to make or authorize an expenditure or obligation

through September 30, 2025, before an appropriation is authorized. The Antideficiency Act forbids

such a guarantee.

       11.     Plaintiffs are labor organizations that collectively represent more than 800,000

federal civil servants. They have a direct interest in ensuring that their members make informed

decisions about their employment, and that the ability to make those decisions is not compromised

by an irrational and illegal offer made on such a compressed and arbitrary timetable. Plaintiffs

have had to expend significant resources to counsel their federal employee members, as well as

unions affiliated with Plaintiffs who represent those members, about the effects of the directive.

       12.     Because the Fork Directive is a final agency action that, as written, is arbitrary and

capricious and contrary to law, the Court should, inter alia, declare that the Directive as issued is

arbitrary, capricious, and not in accordance with law, vacate and remand the Directive to OPM to

provide a reasoned basis for the Directive and extend the deadline accordingly, and until such time

as Defendants provide an adequate justification for the Directive, and enjoin the February 6, 2024

deadline.

                                            PARTIES

       13.     The American Federation of Government Employees, AFL-CIO (“AFGE”) is a

labor organization and unincorporated association headquartered at 80 F Street N.W., Washington,




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D.C. 20001. AFGE, the largest federal employee union, represents approximately 800,000 federal

civilian employees through its affiliated councils and locals in every state in the United States.

       14.     AFGE members include nurses caring for our nation’s veterans, border patrol

agents securing our borders, correctional officers maintaining safety in federal facilities, scientists

conducting critical research, health care workers serving on military bases, civilian employees in

the Department of Defense supporting our military personnel and their families, and employees of

the Social Security Administration making sure retirees receive the benefits they have earned.

       15.     AFGE was founded in 1932 by federal employees seeking to create a right to fair

employment and pay during the Great Depression. As the union grew, it advocated for and secured

numerous victories for career civil servants, including the passage of the Civil Service Reform Act

in 1978.

       16.     AFGE is dedicated to fighting for dignity, safety, and fairness on the job for its

members, and promoting efficiency and the improvement of government service so that

government can more effectively serve the American people.

       17.     AFGE Local 3707 (“Local 3707”) is a labor organization and unincorporated

association based at the Westover Airforce Reserve Base, Chicopee, MA 01022. Local 3707

represents approximately 400 civilian employees at Westover Reserve Air Base.

       18.     The American Federation of State, County & Municipal Employees, AFL-CIO

(“AFSCME”) is a national labor organization and unincorporated membership association

headquartered at 1625 L Street N.W., Washington, D.C. 20036. AFSCME is the largest trade union

of public employees in the United States, with around 1.4 million members organized into

approximately 3,400 local unions, 58 councils and other affiliates in 46 states, the District of

Columbia, and Puerto Rico. AFSCME, through its affiliate District Council 20 and its constituent



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local unions, represents federal civilian employees in agencies and departments across the federal

government.

       19.     AFSCME was founded in 1932 by civil servants seeking to combat state efforts to

replace a competitive civil service system with political patronage, united by a simple idea: that a

professional civil service is essential to a strong democracy, and public service should be delivered

by individuals dedicated to serving their communities, not those who have close connections to

politicians. This idea has sustained AFSCME through nearly nine decades, as the union has

succeeded in its efforts to pass or strengthen civil service laws across the United States.

       20.     AFSCME members include nurses, corrections officers, childcare providers,

emergency medical technicians, sanitation workers, school bus drivers, civil engineers, policy

analysts, and more, all with one thing in common: a dedication to making our communities

stronger, healthier, and safer. Its members working for the federal government make our

communities stronger, healthier, and safer by working to ensure aviation safety at the Federal

Aviation Administration, criminal justice through the Department of Justice, and more.

       21.     The National Association of Government Employees, Inc. (“NAGE”) is a national

labor organization and is affiliated with the Service Employees International Union. NAGE is

incorporated in the state of Delaware with its place of business at 159 Thomas Burgin Parkway,

Quincy, MA 02169. NAGE and its local units are the certified exclusive bargaining representative

of approximately 125,000 employees, including nearly 75,000 federal employees in 43 states,

including Massachusetts.

       22.     NAGE members, many of whom are veterans, include health care workers, police

officers, scientists, office workers, researchers, childcare providers, janitorial staff, drivers, and




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more, working at many federal agencies such as the U.S. Department of Defense, U.S. Department

of Veterans Affairs, the U.S. Department of Transportation, and the National Park Service.

       23.     Founded in 1961, NAGE is an organization of members united by the belief in the

dignity and worth of workers and the services they provide, dedicated to improving the lives of

workers and their families, and creating a more just and humane society.

       24.     AFGE, Local 3707, AFSCME, and NAGE bring this action on behalf of themselves

as organizations.

       25.     Defendant Office of Personnel Management (OPM) is a federal agency that serves

as the chief human resources agency and personnel policy manager for the Federal government.

       26.     Defendant Charles Ezell is the Acting Director of OPM. He is sued in his official

capacity.

                                JURISDICTION AND VENUE

       27.     This Court has jurisdiction pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1346.

This Court has further remedial authority under the Declaratory Judgment Act, 28 U.S.C. §§ 2201

and 2202 et. seq., and the Administrative Procedure Act, 5. U.S.C. § 701, et seq.

       28.     Venue is proper in the District of Massachusetts pursuant to both 28 U.S.C. §§

1391(b)(2) and (e)(1). Defendants are United States agencies or officers sued in their official

capacities. Plaintiffs AFGE Local 3707 and NAGE are residents of this district, and a substantial

part of the events or omissions giving rise to this Complaint occurred and continue to occur within

the District of Massachusetts, where thousands of their members have received the Fork Directive.


                                   LEGAL FRAMEWORK


       29.     Under the Administrative Procedure Act (APA), a court shall “hold unlawful and

set aside agency action … found to be arbitrary, capricious, an abuse of discretion, or otherwise

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not in accordance with law.” 5 U.S.C. § 706(2)(A). The APA likewise requires a court to hold

unlawful agency actions that are “in excess of statutory jurisdiction, authority, or limitations.” 5

U.S.C. § 706(2)(B).

       30.     The Appropriations Clause of the Constitution commands that “No money shall be

drawn from the Treasury, but in Consequence of Appropriations made by Law.” U.S. Const., Art.

I, § 9, cl. 7. In 1870, Congress enacted the Antideficiency Act (31 U.S.C. §§ 1341, 1342, 1349-

1351, 1511-1519) to address the increasingly common problem of the executive branch obligating

funds in advance of appropriations, which put pressure on Congress to then appropriate those funds

so that creditors would be paid.

       31.     The Antideficiency Act protects Congress’s constitutional power of the purse.

Section 1341 of the Act provides, in relevant part, that a federal official may not (1) “make or

authorize an expenditure or obligation exceeding an amount available in an appropriation or fund

for the expenditure or obligation”; or (2) “involve” the federal government “in a contract or

obligation for the payment of money before an appropriation is made unless authorized by law.”

31 U.S.C. § 1341(a).

                                            ALLEGATIONS

       32.     On the afternoon of January 28, 2025, OPM sent an email directly to all—or nearly

all—federal employees with the subject title, “Fork in the Road,” which announced a “deferred

resignation” “program” to those employees—the “Fork Directive.” Fork in the Road, U.S. Office

of Pers. Mgmt., https://www.opm.gov/fork (last visited Feb. 4, 2025).

       33.     The Fork Directive instructed recipients to reply to the email with the word

“RESIGN” directly to hr@opm.gov to participate. Specifically, OPM’s message stated:

       This program begins effective January 28 and is available to all federal employees until
       February 6. If you resign under this program, you will retain all pay and benefits regardless

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         of your daily workload and will be exempted from all applicable in-person work
         requirements until September 30, 2025 [].
Id.

         34.    OPM announced that “deferred resignation is available to all full-time federal

employees” except those in certain national security roles and at the U.S. Postal Service and “any

other positions specifically excluded by your employing agency.” Id.

         35.    In making this extraordinarily broad solicitation for resignations, OPM offered

employees barely more than a single week to respond, demanding a single word response—

“RESIGN”—by February 6, 2025.

         36.    This incredibly short timeframe was accompanied by implicit threats of earlier

termination for those who failed to accept a deferred resignation date of September 30, 2025, and

substantial uncertainty about the legality and details of the newly announced program and the

breadth of its exclusions.

         37.    Indeed, the Fork Directive itself made clear that “the majority of federal agencies

are likely to be downsized,” including through reductions in force and furloughs. Id. The OPM

website now explains to workers that the “federal workplace is expected to undergo significant

near-term changes” and advises that employees “may wish to depart” “on terms that provide you

with sufficient time and economic security to plan for your future.” Frequently Asked Questions,

U.S. Office of Pers. Mgmt., https://www.opm.gov/fork/faq (last visited Feb. 4, 2025) (“Why am I

being offered deferred resignation?”).

      OPM failed to consider numerous factors, including critical concerns of continuity and
              service across government operations, in promulgating the Directive

         38.    In issuing the Directive across the government barely a week after the new

Administration was sworn in, OPM did not conduct any analysis of which agencies were likely to

experience high levels of resignations, the optimal number of resignations, or where staffing was

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already woefully insufficient such that soliciting resignations would be incontrovertibly harmful

to government operations. See, e.g., Department of Veterans Affairs, Office of Inspector General,

OIG Determination of Veterans Health Administration’s Severe Occupational Staffing Shortages

Fiscal Year 2024 (Aug. 7, 2024), https://www.vaoig.gov/reports/national-healthcare-review/oig-

determination-veterans-health-administrations-severe-0 (documenting 2,959 Veteran Health

Administration medical facilities with “severe occupational staffing shortages” in the fiscal year

(FY) 2024).

        39.     Compounding the confusion, OPM sent the Fork Directive to individuals that it

ultimately deemed ineligible to participate. Even where OPM may have made determinations to

exclude employees in critical positions from the program, those employees were still sent multiple

emails soliciting their resignations, creating uncertainty and suggesting their employment could

be in jeopardy if they did not resign. See, e.g., Fork in the Road, U.S. Office of Pers. Mgmt.,

https://www.opm.gov/fork (last visited Feb. 4, 2025) (“the majority of federal agencies are likely

to be downsized through . . . actions . . . likely to include the reclassification to at-will status for a

substantial number of federal employees”). For example, air traffic controllers received this email

even as an OPM official told media that air traffic controllers were exempt from the program. See

Thomas Beaumont et al., Air traffic controllers were initially offered buyouts and told to consider

leaving government, ABC News (Jan. 31, 2025), https://abcnews.go.com/US/wireStory/air-traffic-

controllers-initially-offered-buyouts-told-leaving-118330627.

        40.     Nor did OPM consider the programmatic or other impacts on government service

of dramatically—and with almost no advance warning—reducing the size of the federal workforce.

OPM offered no plan or analysis as to how many employees they expected to take advantage of

the program, or how the hundreds of agencies and their components across the government would



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ensure continuity of expertise and operations in light of the sudden unplanned administrative leave

of some untold number of federal workers.

       41.     Indeed, OPM acknowledges that some federal agencies actually require larger

workforces to function, stating that “a few [unspecified] agencies . . . are likely to see increases in

the size of their workforce.” Fork in the Road, U.S. Office of Pers. Mgmt.,

https://www.opm.gov/fork (last visited Feb. 4, 2025). But the Fork Directive is addressed in an

overwhelmingly blanket fashion to millions of employees without targeting or analysis. OPM’s

program can only be expected to cause resignations and resultant staff reductions at even the

unspecified agencies it acknowledges will require increases in the size of their workforce at a time

of low unemployment.

   The Directive, which provides conflicting information regarding employees’ rights and
 obligations if they accept the government’s offer, does not reflect reasoned decision-making

       42.     The Directive and related materials offer conflicting information about employees’

rights and obligations if they accept the government’s offer.

       43.     Following the original communication, OPM began publishing Frequently Asked

Questions (FAQs) concerning the program, and sent a follow-up email on the evening of January

30, 2025 to encourage federal employees to resign, facetiously citing their ability to travel to “a

dream destination” and asserting that “The way to greater American prosperity is encouraging

people to move from lower productivity jobs in the public sector to higher productivity jobs in the

private sector.” Kate Kelly, Michael C. Bender, and Zolan Kanno-Youngs, Official Email Urges

Federal      Workers     to    Find     ‘Higher        Productivity’   Jobs    (Jan.    31,     2025),

https://www.nytimes.com/2025/01/31/us/politics/federal-workers-opm.html; Fork in the Road,

U.S. Office of Pers. Mgmt., https://www.opm.gov/fork (last visited Feb. 4, 2025).




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         44.      The FAQs continue to be changed, with OPM adding and changing material on the

FAQ over the following days. See Frequently Asked Questions, U.S. Office of Pers. Mgmt.,

https://web.archive.org/web/20250000000000*/https://www.opm.gov/fork/             (internet    archive

showing numerous changes to Fork Directive FAQs).

         45.      This guidance continues to shift in a way that obscures the true nature of the

Directive from Plaintiffs, federal employees, and the public.

         46.      For example, OPM has repeatedly shifted its position as to whether and when

employees who accept the offer in the Fork Directive will be expected to work.

         47.      The initial communication from OPM on January 28, 2025 suggested that

employees would be required to continue working, but “will be exempted from all applicable in-

person     work     requirements,”   Fork   in   the   Road,    U.S.   Office     of   Pers.   Mgmt.,

https://www.opm.gov/fork (last visited Feb. 4, 2025).

         48.      And, among other things, OPM purported to reverse its positions regarding

whether employees would be required to work during the deferred resignation period, stating that

“[e]xcept in rare cases determined by your agency,” employees were “not expected to work.”

@Elonmusk, X (Jan. 29, 2025, 8:56 AM), https://x.com/elonmusk/status/1884601571347943773.




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See also https://web.archive.org/web/20250129012319/https:/www.opm.gov/fork/faq (same).

       49.    But OPM provided no guidance as to the “rare” circumstances under which

employees would be expected to work.

       50.    OPM sent a second email on January 30, 2025 that purported to provide clarity.

@News_MTorres, X (Jan. 31, 2025, 9:26 AM),

https://x.com/News_MTorres/status/1885333873766080615 (post on X showing OPM email

providing “Fork in the Road FAQs”).

       51.    At some point, OPM subsequently revised this guidance yet again, apparently in an

effort to sweeten the deal and encourage employees to resign. As of February 1, 2025, OPM’s

response to a question about whether employees will be expected to work their government jobs

during the deferred resignation period simply reads, “No.” Fork in the Road, U.S. Office of Pers.

Mgmt., https://www.opm.gov/fork(last visited Feb. 4, 2025).




       52.    Beginning on or about January 30, 2025, agencies across the federal government

advised federal employees by mass emails, at OPM’s direction, that the Fork in the Road program

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was “valid, lawful, and will be honored.” Anne Flaherty, Mary Alice Parks, and Soo Youn, Federal

workers told offer to get paid through September if they resign is ‘valid,’ ‘lawful’, ABC News (Jan

31,   2025),   https://abcnews.go.com/Politics/federal-workers-told-offer-paid-september-resign-

valid/story?id=118317566.

       53.     OPM’s decision to issue a “deferred resignation” program that gave employees—

and Plaintiffs who advise them—little more than a week to decide the future of their career is

unprecedented.

       54.     Particularly in light of the extremely compressed timeline to participate in the Fork

Directive, OPM’s continual changing of the contours of that program—and the rights and

obligations of employees under it— reflects the opposite of reasoned decision-making.

       55.     OPM’s need to broadly and flatly assert that the exploding offer in the Fork in the

Road directive was “lawful” and “valid” only demonstrates the agency’s awareness of the

tremendous extent of uncertainty surrounding the directive’s validity, and an effort to rush federal

employees to make a decision in a matter of days despite that uncertainty. See Andrea Hsu, Legal

questions surround Trump's federal worker resignation offer, NPR (Jan. 31, 2025),

https://www.npr.org/2025/01/31/nx-s1-5282075/trump-federal-employees-resignation-offer-

legal-questions.

 The Directive fails to consider or adequately explain how it is consistent with long-standing
  ethics rules concerning outside employment, which place agency-specific restrictions on
                      employees’ ability to obtain additional employment

       56.     OPM’s FAQs following the issuance of the Directive flatly stated that federal

employees could obtain a “second job” if they submitted their resignation. Indeed, OPM stressed

that employees could “Absolutely!” obtain additional employment during the period they would




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be placed on administrative leave. Frequently Asked Questions, U.S. Office of Pers. Mgmt.,

https://www.opm.gov/fork/faq (last visited Feb. 4, 2025).




       57.     But this bald assertion contradicts longstanding regulations and nuanced rules that

federal employees must consider when engaging in outside employment while still employed by

the federal government.

       58.     Federal ethics regulations provide that federal employees who seek outside

employment must comply with numerous conditions, including “[a]ny agency-specific

requirement for prior approval of outside employment or activities.” 5 C.F.R. § 2635.801. And the

regulations further provide that agencies may impose a prior-approval requirement before

individuals employed at the agency can accept outside employment. Id. at § 2635.803. Some

agencies have codified their requirement for prior approval by regulation and these policies could

hardly be expected to change uniformly in the accelerated timeframe created by the Fork Directive.

See, e.g., 5 C.F.R. § 5701.101 (Federal Trade Commission regulations).

       59.     There are further restrictions on outside employment for federal employees,

including a prohibition on receiving dual pay from federal employment. See 5 U.S.C. § 5533. But

OPM informs employees that, should they resign from their positions, doing so “does not affect

your ability to work for the federal government in the future.” Frequently Asked Questions, U.S.

Office of Pers. Mgmt., https://www.opm.gov/fork/faq (last visited Feb. 4, 2025).



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        60.     OPM’s blanket assertions that all federal employees who accept the exploding

deferred resignation offer can “Absolutely!” obtain a second job are simply incorrect.

  The Fork Directive is contrary to reasoned practices of restructuring and seeds chaos, not
                              effective government functioning

        61.     On information and belief, the Fork in the Road directive is based on a staff

reduction approach of the same name conducted by Elon Musk shortly after taking over Twitter

(now X). Mr. Musk is reportedly deeply involved in OPM’s operations, has close ties to senior

OPM staff politically appointed by the new Administration, and has repeatedly commented

publicly on the Fork Directive.

        62.     OPM’s rapid adoption of Musk’s private-sector program confirms that the agency

took very little time to consider the suitability of applying an approach used with questionable

success in a single for-profit entity to the entirety of the federal workforce. See, e.g., Dave Lawler,

The     Elon-ification      of    the   federal     government,      Axios      (Jan.    30,     2025),

https://www.axios.com/2025/01/30/elon-musk-government-takeover-federal-workers                      (“A

workforce discombobulated by chaotic recent events receives an email with the subject line ‘Fork

in the Road.’ Inside, a deadline to quit or commit to the new mission. That's the scenario Twitter

employees faced in November 2022 — and the one now confronting some 2.3 million government

workers.”); Clare Duffy, The ‘Muskification’ of the federal government is in full swing, CNN (Jan.

30,      2025),          https://www.cnn.com/2025/01/29/tech/elon-musk-government-cuts-twitter-

takeover/index.html.

        63.     The “Fork in the Road” approach at Twitter was widely regarded as chaotic, and

the company’s value declined precipitously after it was implemented. As one report summarized,

“While Mr. Musk ultimately transformed Twitter, reducing staff by 80 percent and minimizing its

real estate footprint, its business has declined. Advertisers have fled the site in droves, and at least

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one major asset management firm, Fidelity Investments, estimates the company is now worth 72

percent less than the $44 billion he paid for it.” Kate Conger and Ryan Mac, Déjà Vu: Elon Musk

Takes His Twitter Takeover Tactics to Washington, N.Y. Times (Jan. 30, 2025),

https://www.nytimes.com/2025/01/30/technology/musk-doge-x-playbook.html.

       64.     The Directive offers no rationale for translating a questionable private-sector

experiment into a program for virtually the entire federal civilian workforce.

  As the Fork Directive rashly replicates the chaotic private-sector approach employed at
 Twitter, it eschews the reasoned, logical, and congressionally authorized approach used for
         federal workforce reduction through voluntary departure in the recent past.

       65.     In the mid-1990s, then-President Clinton and his Administration undertook a

significant effort to streamline and reduce the size of the federal workforce to increase efficiency

and reduce the deficit. See https://www.presidency.ucsb.edu/documents/statement-the-buyout-

program-for-federal-employees.

       66.     President Clinton charged Vice President Gore with first leading a National

Performance Review to gather information and make reasoned recommendations concerning

government efficiency.

       67.     After the National Performance Review conducted information-gathering and

analysis, the Administration sought and received approval from Congress to offer buyouts to

certain federal employees, with targeted offers.

       68.     The offers were designed to reduce unproductive layers of management, with 70

percent of buyout uptake coming from managerial employees.

       69.     This approach led to a reduction of more than 100,000 federal government positions

a little more than a year after obtaining congressional authorization.




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        70.      The buyout authorities obtained from Congress in the Clinton Administration, see

Public Law No. 103-226, 108 Stat. 111 (1994), generally gave agencies a calendar year—not nine

days—to make and accept buyout offers from employees using considered principles articulated

both by statute and in Office of Management and Budget guidance. These principles required the

use of strategic plans before offering buyouts, ensuring the maintenance of productivity and ability

to achieve agency objectives, and targeting to specific positions and integrating the efforts into

restructuring plans. See U.S. Gov't Accountability Off., GGD-97-124, Federal Downsizing:

Effective Buyout Practices and Their Use in FY 1997, https://www.gao.gov/products/ggd-97-124.

                               The Directive’s deadline is arbitrary

        71.      Federal employees must weigh whether to accept the Fork Directive in short order,

by February 6, 2025. But the Directive comes with a questionable legal basis, continually changing

guidance, and with no clear mechanism to ensure that its promise will be fulfilled. Employees are

advised if they forgo the offer—even with all of this attendant lack of clarity— they risk

unemployment.

        72.      The February 6, 2025 deadline to respond to the Fork Directive is not mandated by

law. It is an arbitrary date Defendants selected to put maximum pressure on the federal workforce

so that they would accept the offer, in many cases contrary to federal agency and federal employee

interests.

The Directive is pretext to remove career federal civil servants and replace them with staff who
                          are politically aligned with the Administration

        73.      The Fork Directive itself concedes that some agencies require more—not less—

less staffing.




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        74.    Statements made by the Administration and their surrogates make clear that they

intend to reduce the size of the government in part so that they can replace career federal employees

with individuals ideologically aligned with the Administration.

        75.    The President has pledged to fire wide swaths of civil servants, promising to “throw

off the political class that hates our country.” Donald J. Trump, Speech at Conservative Political

Action Conference (March 4, 2023), https://tinyurl.com/2hjrs5ah. As he explained, “you’ll see that

on the first day of my presidency, the deep state which is destroying our nation. The tables will

turn and we will destroy the deep state. We’re going to destroy the deep state.” Donald J. Trump,

Speech at South Carolina GOP Dinner (Aug. 5, 2023), https://tinyurl.com/36uhbe74.

        76.    President Trump has singled out Democrats and so-called “RINOs” (Republicans

In Name Only) for termination. For example, in one video post from May 2023, Trump told a

reporter that he would make “very big changes” to the FBI in a potential second term. Donald J.

Trump     (@realDonaldTrump),       Truth    Social     (May    15,    2023,    11:04    PM     ET),

https://tinyurl.com/bdesuz3w. The DOJ and FBI, Trump said, personify the “deep state” as they

are filled with “thousands and thousands” of “RINOs and with Democrats” that have been there

for decades. Rebecca Jacobs, Trump Has Said He Wants to Destroy the “Deep State” 56 Times

On Truth Social, CREW (Aug. 1, 2024), https://tinyurl.com/36z27phm. In another speech, he

criticized the “deep state” workers who “work with the with the Democrats and the Republicans,

and those are the Republicans I don’t like.” Donald Trump, Speech at Political Rally in Sarasota,

Florida (July 3, 2021), https://tinyurl.com/58r46v4a.

        77.    Vice President Vance reiterated that President Trump should “[f]ire every single

midlevel bureaucrat, every civil servant in the administrative state, replace them with our people.”




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Andrew Prokop, J.D. Vance’s Radical Plan to Build a Government of Trump Loyalists, Vox (July

18, 2024), https://tinyurl.com/4rsvn7xv.

       78.     The scattershot approach of the Fork Directive—which does not set a target for

specific goals, agencies, positions or functions—can only be understood as an effort to hollow out

the federal government to allow the Administration to make room for the Administration’s partisan

hiring. See The White House, Reforming the Federal Hiring Process and Restoring Merit to

Government Service, https://www.whitehouse.gov/presidential-actions/2025/01/reforming-the-

federal-hiring-process-and-restoring-merit-to-government-service/ (directing agencies to make

federal “recruitment and hiring processes more efficient” by, inter alia, involving political

appointees “throughout the full hiring process” and prioritizing hiring of individuals “passionate

about the ideals of our American republic”).

 The Fork Directive is contrary to law as it was promulgated with no clear statutory basis or
                      authorization and violates the Antideficiency Act

       79.     OPM has offered no explanation or statutory basis for offering the Directive, nor

has it identified how the federal government intends to pay an unspecified number of workers for

not performing work for the next eight months.

       80.     Nor has OPM offered a justification for this apparently unprecedented use of

administrative leave.

       81.     The Antideficiency Act prohibits federal officials from making or authorizing an

expenditure or obligation exceeding an amount available in an appropriation or from contracting

or obligating for the payment of money before an appropriation is made (31 U.S.C. § 1341(a)).

This is precisely what Defendants are purporting to do via the Fork Directive.

       82.     The government is currently operating on a continuing resolution that expires on

March 14, 2025. There is currently no appropriation in place to cover the salaries of federal

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employees after that date. The Directive, however, unequivocally promises all pay and benefits

until September 30, 2025. As written, Defendants are making or authorizing an obligation for the

payment of money before an appropriation is made. See Fork in the Road, U.S. Office of Pers.

Mgmt., https://www.opm.gov/fork (last visited Feb. 4, 2025) (original communication to

employees, explaining that workers will “maintain [their] current compensation…until [their] final

resignation date”).

       83.     Following significant concerns about whether, in light of the lack of appropriations

and other concerns, employees would “really” receive “full pay and benefits through September

30,” OPM doubled down in its FAQs without reservation, stating, “Yes.” Frequently Asked

Questions, U.S. Office of Pers. Mgmt., https://www.opm.gov/fork/faq (last visited Feb. 4, 2025)




       84.     These questionable assertions led to public concerns about the lawfulness of the

Fork Directive given the lack of government appropriations beyond March 14, 2025, Andrea Hsu,

Legal questions surround Trump's federal worker resignation offer, NPR (Jan. 31, 2025),

https://www.npr.org/2025/01/31/nx-s1-5282075/trump-federal-employees-resignation-offer-

legal-questions.

       85.     In response, OPM— changed the contours of the Directive’s guidance. OPM added

a statement to the FAQ that asserts that a lapse in funding could affect employees’ pay regardless

of whether they submit a deferred resignation. OPM nonetheless unequivocally assured employees

that they will be entitled to back pay in case of a lapse in appropriations under the Government

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Employee Fair Treatment Act of 2019. Compare Frequently Asked Questions, U.S. Office of Pers.

Mgmt., https://www.opm.gov/fork/faq (retrieved February 3, 2025. 8:49 AM) (explaining that a

government shutdown could impact pay, but assuring employees that they would be entitled to

backpay            after          any           shutdown)             with           id          at

https://web.archive.org/web/20250131184447/https://www.opm.gov/fork/faq (extant version at

6:44 PM, Jan. 31, 2025) (FAQ does not include any equivocation on the entitlement to pay). In

adding this new FAQ, OPM neither rescinded previous communications to federal employees nor

changed its other unequivocal statements that employees “really” will be paid through September

30, 2025.

        86.    Whether or not an employee is guaranteed backpay following Congress’s issuance

of an appropriation, the Antideficiency Act forbids OPM from guaranteeing payment without an

appropriation. Particularly where, as here, OPM does not know the contours of future

appropriations or funding levels, this promise is improper. If Congress decides to not fund certain

offices after March 14, for example, employees in those offices who accepted the Fork Directive

would have no appropriation to satisfy their promised pay.

Plaintiffs have been, and will continue to be, harmed by the Fork Directive.

        87.    AFGE, on its own and in conjunction with its affiliated councils and locals,

represents members and bargaining unit employees in agencies and departments across the federal

government for which it has been certified as the exclusive representative pursuant to 5 U.S.C. §

7111.

        88.    Local 3707 represents members and bargaining unit employees consisting of most

civilian employees of the Westover Airforce Reserve Base in Chicopee, Massachusetts, for which

it has been certified as the exclusive representative pursuant to 5 U.S.C. § 7111.



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       89.      AFSCME, through its affiliated District Council 20 and its constituent local

unions, represents members and bargaining unit employees in agencies and departments across the

federal government for which AFSCME District Council 20 has been certified as the exclusive

representative pursuant to 5 U.S.C. § 7111.

       90.     NAGE, on its own and in conjunction with its locals, represents members and

bargaining unit employees in agencies and departments across the federal government for which

it has been certified as the exclusive representative pursuant to 5 U.S.C. § 7111.

       91.     Membership in AFGE, Local 3707, AFSCME, and NAGE is voluntary.

       92.     The leadership of AFGE, Local 3707, AFSCME, and NAGE are democratically

elected by and from their respective members.

       93.     The activities of AFGE, AFSCME, and NAGE are funded by their respective

members through voluntary membership dues.

       94.     AFGE members who are federal employees work in a wide variety of positions, in

every U.S. state and the District of Columbia, and in agencies including the Environmental

Protection Agency, the Department of Labor, the Department of Veterans Affairs, the Social

Security Administration, the Department of Defense, and the Department of Homeland Security.

       95.     AFSCME members who are federal employees work in a wide variety of positions

at multiple federal agencies including AmeriCorps, the Department of Agriculture (USDA), the

Department of Justice (DOJ), the Federal Aviation Administration (FAA), the Peace Corps, and

Voice of America.

       96.     NAGE members who are federal employees work in a wide variety of positions in

43 states, in agencies including the Department of Veterans Affairs, the Department of Defense,

the Department of Transportation, the Environmental Protection Agency, and the National Park



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Service.

        97.     AFGE members are located in all fifty states. AFGE has several affiliates across

the State of Massachusetts, representing approximately 2,900 federal workers at various agencies,

including the Department of Veterans Affairs, the Department of Defense, the Social Security

Administration, and the Environmental Protection Agency.

        98.     Among AFSCME’s thousands of affiliated subordinate bodies throughout the

country, AFSCME Council 93 and its affiliated local unions represent employees of public and

private employers in the State of Massachusetts including but not limited to employees of the City

of Springfield and the Springfield Housing Authority.

        99.     NAGE has multiple units in Massachusetts, representing approximately 7,000

federal employees at various federal agencies, including the Department of Veterans Affairs,

Department of Defense, and Department of Transportation.

Plaintiffs have already expended significant resources responding to the Directive and will be
         forced to continue to expend and divert resources to respond to the Directive.

        100.    One of AFGE, AFSCME, and NAGE’s core services is responding to inquiries and

concerns, both from individual members of the union and the union affiliates who directly

represent those members, as well as counseling union members about issues that relate to the

workplace. In general, AFGE, AFSCME, and NAGE, through their affiliates, work to ensure that

all member inquiries receive a response, whether by email, phone, or meeting.

        101.    One of AFGE’s core functions is to provide guidance, legal representation, training,

and other services to its over 800 affiliates.

        102.    AFGE has over 150 employees who regularly receive inquires directly from

members and affiliates.

        103.    Core to Local 3707’s mission is providing advice and guidance to the civilian

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employees at Westover Airforce Reserve Base.

       104.    Local 3707 provides guidance and representation to its members through elected

and volunteer union officers and stewards.

       105.    AFSCME has over 100 employees in its Organizing and Field Services Department

whose role is to provide member relations services; they regularly receive calls and emails from

members and affiliates, including from federal employee members of AFSCME District Council

20 and its subordinate bodies.

       106.    AFSCME represents its members through its constituent local unions, councils and

other affiliates. Within this structure, one of AFSCME’s core functions is to provide resources and

guidance to its affiliates for organizing, bargaining, political action and education, legal issues of

national significance, and the administration of members-only benefits.

       107.    NAGE provides guidance, legal representation, training, and services to its locals,

members, and bargaining unit employees.

       108.    NAGE has employees who regularly receive inquiries directly from federal local

affiliates and federal employees.

       109.    Since the Fork Directive, AFGE, Local 3707, AFSCME, and NAGE have been

inundated by members and affiliates seeking advice and information about the Fork Directive.

       110.    For example, since January 28, 2025, AFGE has received thousands of emails from

members and affiliates asking about the Fork Directive. AFGE has received countless additional

inquiries through other channels, including phone calls, town hall meetings, and site visits. AFGE

members and affiliates have asked about the implications of the Fork Directive and guidance on

how to respond to OPM’s email. AFGE affiliates have also asked for services and support in

responding to member and press inquiries about the Fork Directive.



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       111.    Since January 28, 2025, Local 3707 has received numerous inquiries about the

Directive. Responding to these questions has demanded a significant amount of time from the

union’s limited group of volunteer officers and stewards—time that would have otherwise been

spent representing members, organizing new members, and addressing other important issues.

       112.    OPM’s unclear and ever-changing guidance on the Directive has made it

particularly challenging to provide accurate advice. An example of how this has been particularly

difficult for Local 3707 involves the impact of accepting the Fork Directive on dual-status Air

Reserve Technician employees represented by Local 3707. Specifically, it is unclear whether

acceptance would make them ineligible for continued military service.

       113.    Since the Directive, AFSCME District Council 20 and its constituent local unions

have also received emails and phone calls from members asking about the implications of the Fork

Directive. AFSCME local unions have been requesting guidance about the legality of the Fork

Directive, the implications of the Fork Directive on the future of AFSCME members’ work, and

whether AFSCME members should respond to OPM’s email.

       114.    Since January 28, 2025, NAGE has received hundreds of inquiries, emails, and

telephone calls from locals and federal employees asking about the Directive and seeking

guidance. NAGE members have questions about the legality of the Directive, its implications,

effects on their benefits, their options, and how to respond.

       115.    Responding to these concerns has required AFSCME, Local 3707, AFGE, and

NAGE to devote substantial additional resources into counseling members and affiliates and

responding to inquiries.

       116.    For example, at least one AFGE attorney and one AFGE communications staff

member spent almost the entirety of their working day on January 29, 2025, working on Fork



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Directive-related issues. Several other staff members have spent a significant portion of each day

since the 28th responding to and researching Fork Directive related issues. These staffers would

ordinarily be performing other necessary work, such as preparing for affiliate arbitrations,

reviewing affiliate requests for legal and communications advice, and drafting newsletters and

other AFGE communications.

       117.    Because of the volume of inquiries, AFGE has held 2 virtual town halls for its

affiliates. Each town hall took place in the evening and required over 25 staff members to perform

duties outside their normal working hours.

       118.    Likewise, because of numerous inquiries by AFSCME members, AFSCME

attorneys and communication department staff have had to devote resources to preparing a

Frequently Asked Questions (“FAQ”) document to address AFSCME member questions about the

Fork Directive, diverting these AFSCME employees from performing other necessary work

servicing AFSCME members and affiliates in other jurisdictions nationwide. And AFSCME local

unions of federal employees have scheduled special meetings with their bargaining-unit members

to discuss the Fork Directive and provide guidance.

       119.    NAGE has utilized several attorneys and representatives to receive questions,

research issues, prepare a FAQ, and host two webinar-style town halls. Each town hall lasted over

an hour and required multiple staff members to present materials and answer live questions. These

NAGE staff would ordinarily perform other necessary work, including legal representation and

union representational assistance with grievances, bargaining, communications, and other matters.

       120.    In addition to directly responding to inquiries from affiliates and members, AFGE,

AFSCME, and NAGE employees have invested significant time and effort into researching issues

related to the Fork Directive. These efforts have been necessary to develop written guidance to



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help members and affiliates, to try to ensure as well-informed an approach to addressing these

issues as is possible under the circumstances.

        121.    The substantial increase in volume of inquiries and counseling requests from

members and affiliates has required AFGE and NAGE to divert resources from other work. For

example, the attorney time spent developing guidance and responding to inquiries has resulted in

delays in preparing for arbitration hearings and responding to non-Directive-related affiliate

inquires.

        122.    In addition, media outlets have contacted AFGE, AFSCME, and NAGE seeking

comment or information about the Fork Directive. These inquiries continue.

        123.    These resource challenges are particularly acute because of the very limited

timeframe and changing guidance surrounding the Directive. Members need answers to their

questions by the impending deadline presented by the Fork Directive, and are urgently reaching

out to Plaintiffs for advice.

               The Directive impedes Plaintiffs’ ability to perform their missions.

        124.    Core to Plaintiffs’ mission is fighting for fairness and full protection of the law on

behalf the employees they represent.

        125.    Because of the paucity of information about the Fork Directive, it is challenging for

Plaintiffs to adequately advise their members or affiliates as to many of their questions.

        126.    For example, it is unclear whether members will really be guaranteed full payment

of wages through September 30, 2025, even if appropriations lapse, the government shuts down,

or Congress passes a law that forbids employees to be paid when they are not working.

        127.    Dual employment is unclear, and whether members could seek outside employment

while in this “deferred resignation” period, in light of prior guidance and ethics rules limiting



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federal workers’ ability to work for others while on the federal payroll.

       128.    It is unclear whether members could leave the country while in “deferred

resignation” status given prior government guidance about leaving the country or the commuting

area while employed.

       129.    It is unclear what authority or appropriations the government has to provide this

program and to guarantee that employees will be paid without working.

       130.    The potential effect of a government shutdown on a “deferred resignation” if a

budget or continuing resolution is not passed in the future is unclear.

       131.    It is unclear what will happen there are later reductions in force or other layoffs,

and whether members would continue to be paid.

       132.    The implications for pensions, health insurance, retirement eligibility, service

tenure requirements and other issues are unclear.

       133.    It was unclear whether members would retain competitive status or reinstatement

rights, whether they will continue to accrue annual leave and sick leave, and whether they will

receive their annual leave payout.

       134.    Given the very limited information available about the Fork Directive, and the

absence of a clear statutory basis for some of the claims in the January 28, 2025 email, it is

challenging for Plaintiffs to adequately counsel or advise their members as to many of these issues.

       135.    The difficulty in responding to inquiries, and time spent addressing concerns, is

amplified by the inconsistent guidance provided to Plaintiffs’ affiliates and members by different

federal agencies and OPM, and the changing nature of that guidance.

       136.    The Directive’s lack of clarity and shifting contours thus directly undermine

Plaintiffs’ core mission of serving and counseling their members.



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        137.    The substantial increase in volume of inquiries and counseling requests from

members and affiliates has required AFSCME, Local 3707, AFGE, and NAGE to divert resources

from being otherwise used to further their mission by organizing and representing employees,

negotiating with employers, and advocating for improved employment conditions. For example,

AFGE and NAGE attorneys are not preparing for arbitrations and answering other affiliate

concerns, and AFGE field representatives (also known as national representatives) are able to

devote less time handling grievances and bargaining issues. Likewise, an AFSCME attorney

working on the union’s efforts to counsel members and affiliates about the Fork Directive would

otherwise be engaged in supporting other AFSCME affiliates in preparing for arbitrations in other

jurisdictions, filing unfair labor practices against non-federal employers, and other AFSCME core

services for its affiliates nationwide.

        138.    In addition, Plaintiffs will likely lose revenue because of the Fork Directive.

Members currently pay voluntary dues through payroll deductions. The vast majority of members

who leave federal service for reasons other than retirement cease being members of their respective

unions and cease paying dues. Members’ deferred resignations will reduce Plaintiffs’ membership

rolls, thereby reducing the revenue available to further Plaintiffs’ mission.

        139.    Further, as members look to AFSCME, Local 3707, AFGE and NAGE to provide

answers about the Fork Directive and its unclear and ever-changing guidance, AFSCME, Local

3707, AFGE and NAGE are at risk of reputational harm among their membership, and more

broadly among other federal employees, due to the difficulty of providing satisfactory answers to

members concerning an agency policy with enormous potential consequences for members’

interests.

        140.    Given the short timeline attendant to the Directive, and the ongoing lack of clarity,



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Plaintiffs will not be able to improve on their advice to members, or offer further clarity, in the

future – the time will have simply expired.

                                         CLAIMS FOR RELIEF

                                             Count One
                        (Administrative Procedure Act - Arbitrary, Capricious)

       141.     Plaintiffs repeat and incorporate by reference each of the foregoing allegations as

           if fully set forth herein.

       142.     Under the APA, a court shall “hold unlawful and set aside agency action … found

to be arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5

U.S.C. § 706(2)(A).

       143.     The Fork Directive is arbitrary and capricious for a host of reasons.

       144.     Defendants have failed to consider innumerable potential consequences of the Fork

Directive, which was sent a mere week after the beginning of the new Administration to millions

of federal employees, including the impact on continuity and effectiveness of government

functioning.

       145.     The Directive and related materials offer conflicting information regarding

employees’ rights and obligations if they accept the government’s offer.

       146.     The Directive adopts a questionable approach from the private sector, without

considering whether it is applicable in the federal context or consistent with prior history relating

to restructuring.

       147.     The Directive aims to entice federal employees to relinquish their livelihoods on

the basis of barely-veiled threats of future termination.

       148.     The Directive runs contrary to long-standing rules and requirements for federal

employees, including prior guidance and ethics rules regarding outside employment.

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         149.    The Directive provides an arbitrarily short deadline for decision that is not based in

any articulated need or statutory requirement and—particularly in light of open questions and

changing guidance—puts Plaintiffs in an impossible position in advising their members and

developing guidance.

         150.    The Directive is pretext for removing federal workers on an ideological basis to

replace them with staff who are politically aligned with the Administration.

         151.    The arbitrary and capricious nature of OPM’s decision has harmed Plaintiffs.

                                             Count Two
                      (Administrative Procedure Act – not in accordance with law,
                                  and exceeding statutory authority)

         152.    Plaintiffs repeat and incorporate by reference each of the foregoing allegations as

if fully set forth herein.

         153.    The Fork Directive and related communications include no indication as to the

statutory or appropriations basis for OPM’s “deferred resignation” program.

         154.    The Appropriations Clause of the Constitution commands that “No money shall be

drawn from the Treasury, but in Consequence of Appropriations made by Law.” U.S. Const., Art.

I, § 9, cl. 7.

         155.    The Antideficiency Act forbids an agency from authorizing or obligating the

payment of money before an appropriation is made.

         156.    The Fork Directive purports to obligate payment until September 30, 2025 to civil

servants who accept the deferred resignation offer, even though the federal government’s current

appropriations will expire on March 14, 2025.

         157.    By purporting to obligate payments for six months past the March 14, 2025

continuing resolution deadline, the Fork Directive violates the Antideficiency Act, and is therefore



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not in accordance with law and is beyond statutory authority, in violation of the Administrative

Procedure Act. 5 U.S.C. 706(2).

       158.    Defendants’ violation causes ongoing harm to the Plaintiffs.

                                   REQUEST FOR RELIEF

WHEREFORE, Plaintiffs request that this Court:

   A. Declare that the Fork Directive, as currently drafted, is arbitrary, capricious, and not in

       accordance with law in violation of the Administrative Procedure Act;

   B. Vacate the Fork Directive and remand to OPM to provide a reasoned basis as required by

       the APA for the Directive and extend the purported deadline for the Fork Directive

       accordingly;

   C. Preliminarily and permanently enjoin Defendant Charles Ezell, Acting Director of the

       Office of Personnel Management; Defendant Office of Personnel Management; and their

       agents and successors from implementing or otherwise giving effect to the February 6,

       2024 deadline in the Fork in the Road Directive until such time as Defendants can

       provide adequate legal justification for the Fork Directive and adequate legal assurance of

       its terms;

   D. Order Defendant Charles Ezell, Acting Director of the Office of Personnel Management;

       Defendant Office of Personnel Management; and their agents and successors to prepare

       and submit for Court approval a corrective communication to send all government

       workers who received the Fork in the Road Directive, advising them that the Directive is

       suspended and the deadline is held in abeyance for a reasonable period of not less than 60

       days following OPM’s completion of the required consideration of the Directive’s legal

       basis, justifications, and funding.



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E. Award Plaintiffs their costs, attorneys’ fees, and other disbursements for this action; and

F. Grant any other relief this Court deems appropriate.




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DATED this 4th day of February, 2025.



                                          By: /s/ Nicolas F. Mendoza ______________
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                                      and Local 3707

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                                      Government Employees, SEIU Local 5000


                                      *pro hac vice pending




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                                            Verification


          Cory Bythrow being first duly sworn hereby affirm and state under the penalties

of perjury the following:

         I am the Chief of Staff of the American Federation of Government Employees, AFL-CIO


(AFGE), Plaintiff in the above-entitled action. I have read the foregoing complaint and know the

contents thereof I verify under penalty of perjury that the foregoing paragraphs relating to AFGE

are true and correct.




Dated: February 4, 2025
Washington. DC                                                 Cory B;    *ow

(City)           (State)                                       Chief of Staff
                                                              American Federation of Government
                                                              Employees, AFL-CIO
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                                           Verification

       Fernando Colon being first duly sworn hereby affirm and state under the penalties

of perjury the following:

       I am the Associate General Counsel of the of State, County, and Municipal Employees,

AFL-CIO (AFSCME), Plaintiff in the above-entitled action. I have read the foregoing complaint

and know the contents thereof. I verify under penalty of perjury that the foregoing paragraphs

relating to AFSCME are true and correct.



Dated: February 4, 2025                                      ___________________________
Washington, DC                                               Fernando Colon
(City)        (State)                                        Associate General Counsel
                                                             American Federation of State,
                                                             County, and Municipal Employees,
                                                             AFL-CIO (AFSCME)
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                                          Verification

       Lee Sutton being first duly sworn hereby affirm and state under the penalties

of perjury the following:

       I am the Federal Director of the National Association of Government Employees, Inc.

(NAGE), Plaintiff in the above-entitled action. I have read the foregoing complaint and know the

contents thereof. I verify under penalty of perjury that the foregoing paragraphs relating to NAGE

are true and correct.



Dated: February 4, 2025                                     ___________________________
Alexandria, Virginia                                        Lee Sutton
                                                            Federal Director
                                                            National Association of Government
                                                            Employees, Inc.
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       James Johnson being first duly sworn hereby affirm and state under the penalties

of perjury the following:

       I am the President of American Federation of Government Employees, AFL-CIO (AFGE),

Local 3707, Plaintiff in the above-entitled action. I have read the foregoing complaint and know the

contents thereof. I verify under penalty of perjury that the foregoing paragraphs relating to AFGE,

Local 3707 are true and correct.



Dated: February 4, 2025                                      ___________________________
Springfield, MA                                              James Johnson
(City)        (State)                                        President
                                                             American Federation of Government
                                                             Employees, AFL-CIO, Local 3707
